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                             UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION

   JOHN DOE,

                           Plaintiff,

   v.                                                         Case No: 6:18-cv-1069-Orl-37LRH

   ROLLINS COLLEGE,

                           Defendant.


                                                 ORDER
             This cause came on for consideration without oral argument on the following motion filed

   herein:

             MOTION:       PLAINTIFF’S MOTION TO RECONSIDER DENIAL OF
                           MOTION TO COMPEL MATERIALS WITHHELD ON THE
                           BASIS OF ATTORNEY-CLIENT COMMUNICATION
                           (Doc. No. 50)

             FILED:        July 8, 2019



             THEREON it is ORDERED that the motion is DENIED.

             Discovery in this matter closed on July 5, 2019. Doc. No. 29. On July 7, 2019, Plaintiff

   filed a Motion to Compel Materials Withheld on the Basis of Attorney-Client Communication.

   Doc. No. 48. The Court denied that motion as untimely and noted that the Case Management and

   Scheduling Order (“CMSO”) advised the parties that “the Court routinely denies motions to compel
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   that are filed after the discovery deadline as untimely.” Doc. No. 49. Plaintiff now moves for

   reconsideration of that Order. Doc. No. 50.1

           To support the motion for reconsideration, counsel for Plaintiff states that he received the

   deposition transcript of a key witness on the afternoon of July 5, 2019, which was ordered on an

   expedited basis. Id. ¶ 2 & n. 1. It appears that the deposition took place on June 19, 2019. Id. at

   2. Counsel offers no explanation as to why that deposition occurred so near the close of discovery.

           The discovery rules of this district provide: “[T]he completion date for discovery means that

   all discovery must be completed by that date.” Middle District Discovery (2015) § 1(F)(1). “The

   Court expects the parties to address discovery disputes promptly, meaning before the discovery

   deadline passes.” Washington v. Sch. Bd. of Hillsborough Cty., No. 8:08-cv-2023-T-33MAP, 2010

   WL 11507715, at *2 (M.D. Fla. May 5, 2010). Otherwise, the Court’s CMSO would be rendered

   meaningless. Id. Because the discovery deadline in this case has passed, and Plaintiff did not

   obtain an extension of that deadline, the Court has determined that there is no basis to reconsider its

   prior Order. Accordingly, Plaintiff’s Motion to Reconsider Denial of Motion to Compel Materials

   Withheld on the Basis of Attorney-Client Communication (Doc. No. 50) is DENIED.

           DONE and ORDERED in Orlando, Florida on July 9, 2019.




           1
             The Local Rule 3.01(g) in the motion for reconsideration indicates that Defendant opposes the
   requested relief. Doc. No. 50, at 4. Although Defendant has not yet responded to the motion, the Court has
   determined that it does not require the benefit of a response.


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